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             IN THE UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF INDIANA
                     INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC
FILTERS MARKETING,                                Case No. 1:14-ml-2570-RLY-TAB
SALES PRACTICES AND                               MDL No. 2570
PRODUCTS LIABILITY LITIGATION

____________________________________________

This Document Relates to
Plaintiff(s): Melissa Little
Civil Case#: 1:18-cv-02422

_____________________________________________________________________________________

 ORDER ON PLAINTIFF’S MOTION TO SUBSTITUTE PARTY AND FOR
   LEAVE TO FILE FIRST AMENDED SHORT FORM COMPLAINT
__________________________________________________________________
       ON THIS DAY came for consideration Daniel Cannon’s Motion to

Substitute herself, as personal representative of the Estate of Melissa Little,

deceased, as Party Plaintiff for Melissa Little and Leave to File a First Amended

Short Form Complaint. Having considered the Motion, the Court concludes the

Motion should be granted and, therefore: (1) Daniel Cannon, as Dependent

Administrator of the Estate of Melissa Little, is hereby substituted as Party Plaintiff

for Melissa Little in this action; (2) Plaintiff is hereby granted Leave to File a First

Amended Short Form Complaint; and (3) the First Amended Short Form
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Complaint attached to this Order is hereby deemed filed. the Clerk of the Court is

directed to file the Amended Short Form Complaint into the record in this matter.

      So Ordered.

                                             _____________________________
Dated:                                       Tim A. Baker
                                             United States Magistrate Judge
                                             Southern District of Indiana
